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7
                             UNITED STATES DISTRICT COURT
8
                           EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA, ) Case No. 1:07-CR-00254 LJO
11                             )
                               ) STIPULATION TO CONTINUE
12
                   Plaintiff,  ) AND ORDER
13                             )
           vs.                 )
14                             )
     Debra Martin,             )  DATE: December 19, 2008 Time: 8:30 am
15
                   Defendant.  ) Hon: Lawrence J. O’Neill
16
       Barbara Hope O’Neill the attorney of record for Debra Martin and Kimberly A.
17
     Sanchez, Assistant United States Attorney, have agreed to continue this matter from
18

19   December 19, 2008 until January 9, 2009 at 8:30 a.m. The reason for the continuance is

20   the agents were not able to complete their operation until the end of next week. After
21
     that is done, we need more time to discuss a final resolution.
22

23   Dated: December 17, 2008                             Respectfully submitted,
24
                                                        /s/ Barbara Hope O’Neill_______
25                                                          Barbara Hope O’Neill
                                                         Attorney for Debra Martin
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27
     Dated: December 17, 2008                          /s/ Kimberly A. Sanchez
                                                           Kimberly A. Sanchez
28                                                        Assistant U.S. Attorney




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1                                             ORDER
2
           Upon stipulation of the parties and good cause appearing therefore,
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           IT IS HEREBY ORDERED that the hearing in this matter presently set for
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5
     December 19, 2008 at 8:30 a.m., is continued until January 9, 2009, at 8:30 a.m., to be

6    heard before the Honorable Lawrence J. O’Neill.
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9
     Dated: December 17, 2008                              __/s/ Lawrence J. O’Neill
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                                                            Honorable Lawrence J. O’Neill
11                                                         United States District Judge

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